Case 2:19-cv-02626-JTF-atc Document 52 Filed 01/14/21 Page 1 of 3   PageID 166
Case 2:19-cv-02626-JTF-atc Document 52 Filed 01/14/21 Page 2 of 3   PageID 167
Case 2:19-cv-02626-JTF-atc Document 52 Filed 01/14/21 Page 3 of 3                                                                     PageID 168


 From:                    Mary Purpera
 To:                      ahorne@thehornelawfirm.com; bmckinney@gmlblaw.com; Melisa Moore; Tannera Gibson
 Cc:                      Spring Bailey
 Subject:                 Martavious Banks v. City of Memphis (Question)
 Date:                    Thursday, January 14, 2021 12:56:35 PM
 Attachments:             image009.png
                          image002.png
                          image003.png
                          image004.png
                          1.14.2021 - Mediator Certification in Martavious Banks v. City of Memphis.pdf


To All Parties:

Attached you will find the mediator certification form that needs to be filed with the
Court. Mr. Harges asks that one of the parties file this form with the Court on his
behalf as he does not have the credentials to file it.



                             Mary Purpera
                             Case Management

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